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                [ORAL ARGUMENT NOT SCHEDULED]
                            No. 25-1009
__________________________________________________________________
__________________________________________________________________

             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                          _______________

                     In re UNITED STATES, Petitioner
                             _______________

    ON PETITION FOR A WRIT OF MANDAMUS AND PROHIBITION
                       _______________

    PETITIONER’S REPLY IN SUPPORT OF EMERGENCY MOTION
 FOR A STAY PENDING A RULING ON THE PETITION FOR A WRIT OF
MANDAMUS AND PROHIBITION AND FOR AN ADMINISTRATIVE STAY
          PENDING DISPOSITION OF THE STAY MOTION




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                                INTRODUCTION

      Absent a stay, the military commission is poised to enforce respondents’

pretrial agreements despite the Secretary of Defense’s withdrawal. The

agreements would prevent a full public trial of the alleged mastermind of the

September 11 attacks and two of his alleged co-conspirators and preclude the

imposition of capital sentences for crimes including the murder of nearly 3,000

people. The Secretary—who has ultimate responsibility for and authority over the

military commissions system—determined that those agreements would not be an

appropriate resolution of these exceptionally important prosecutions. He therefore

withdrew from the agreements just two days after they were entered, consistent

with a rule expressly authorizing withdrawal “at any time before the accused

begins performance of promises contained in the agreement.” Rule for Military

Commissions (R.M.C.) 705(d)(4)(B).

      The USCMCR denied relief solely because it held that respondents had

begun to perform before the Secretary withdrew. Our motion explained why that

holding was clearly and indisputably wrong, and respondents fail to rehabilitate it.

Indeed, Bin ’Attash does not even try to defend the USCMCR’s reasoning. And

although Mohammad and Hawsawi repeat the USCMCR’s terse analysis of

performance, they fail to grapple with the plain text of the agreements and the rule.

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      Respondents’ other legal arguments likewise lack merit. As the USCMCR

concluded, the Secretary clearly had authority to withdraw Convening Authority

Escallier’s delegated authority over pretrial agreements and to reserve that

authority for himself as superior convening authority. This Court has jurisdiction

over the government’s mandamus petition, the government has no other adequate

avenue for relief, and mandamus is appropriate under the circumstances.

      Departing from the law, respondents argue at length that the withdrawn

agreements would have provided for a better resolution of these prosecutions than

continued litigation. That is a policy question on which reasonable minds can (and

do) differ. But Congress charged the Secretary—not respondents or the courts—

with responsibility for resolving it. The lower courts countermanded the

Secretary’s considered judgment based on a plain misapplication of Rule

705(d)(4)(B). That clear and consequential legal error in this extraordinarily

important case warrants the extraordinary remedy of mandamus. And this Court

should stay the commission’s proceedings to the extent necessary to preserve its

ability to grant mandamus relief.1


      1
        The government clarifies that it does not seek a stay of all proceedings
before the commission; instead, it seeks to stay only proceedings to enforce the
withdrawn plea agreements and accept respondents’ pleas. Cf. Mot. 2. That
limited stay would not affect the proceedings involving Ali Abdul Aziz Ali. Mr.
Ali’s motion to intervene to oppose a broader stay is therefore unnecessary.
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I.    The Government Is Likely to Succeed on the Merits

      This Court has jurisdiction to grant the government’s petition for a writ of

mandamus, and the government has satisfied all three requirements for that relief:

It lacks any adequate alternative means of review; it has a clear and indisputable

right to relief; and issuance of the writ is appropriate under the circumstances.

      A. This Court Has Jurisdiction

      This Court has “jurisdiction to determine the validity of a final judgment

rendered by a military commission” following review by the USCMCR. 10

U.S.C. § 950g(a). The All Writs Act authorizes federal courts to issue “all writs

necessary or appropriate in aid of their respective jurisdictions.” 28 U.S.C.

§ 1651(a). The Court has thus repeatedly held that it has jurisdiction to issue a

writ of mandamus to a military commission. See, e.g., In re al-Nashiri, 791 F.3d

71, 75-76 (D.C. Cir. 2015).

      Respondents resist that straightforward conclusion by asserting

(Mohammad Opp. 18-22) that this Court cannot grant mandamus relief to the

government because the government cannot appeal to this Court under Section

950g. That is doubly wrong. Section 950g does not limit the parties who can seek

this Court’s review, and it expressly provides for review of a conviction “affirmed

or set aside as incorrect in law by the [USCMCR]”—making clear that the

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government can seek review of adverse USCMCR decisions. 10 U.S.C. § 950g(d)

(emphasis added); see R.M.C. 1205(b) (“The government may petition for review

of the decision of the [USCMCR].”). And in any event, respondents err in

presuming that mandamus can be sought only by a party that could appeal after

final judgment. To the contrary, “once there has been a proceeding of some kind

that might lead to an appeal”—a condition clearly satisfied here—this Court has

jurisdiction to grant mandamus “however prospective or potential” an appeal

might be. Al-Nashiri, 791 F.3d at 76 (citation and alterations omitted).

      B. The Government Lacks an Adequate Alternative Avenue for Relief

      Our motion explained (at 9-10) that the government lacks an adequate

alternative avenue for relief because the military commission’s order scheduling

entry of respondents’ pleas is not subject to either interlocutory or final-judgment

appeal. Respondents do not dispute that an interlocutory appeal is unavailable.

But they assert (Mohammad Opp. 24) that the government should allow the pleas

to be entered, wait for the commission to enter a final decision, and then try to

appeal to this Court after respondents waive review by the USCMCR. But

respondents cite no precedent for a government appeal in such circumstances. Cf.

10 U.S.C. § 950f(c) (USCMCR review is limited to matters “raised by the

accused”). They also do not address the serious practical and legal difficulties of

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attempting to unwind pleas at that late stage—including the double-jeopardy

issues. See Mot. 20-21. In any event, this Court has recognized that the first

Cheney condition does not require a petitioner to show it has no post-judgment

appellate rights; instead, a petitioner must show that it lacks an “adequate”

alternative means of securing relief. In re Mohammad, 866 F.3d 473, 475 (D.C.

Cir. 2017) (citation omitted). At a minimum, any post-judgment review potentially

available to the government would not be an adequate means of remedying the

harms that would result if the commission accepted pleas based on the withdrawn

agreements. Cf. In re Al-Nashiri, 921 F.3d 224, 238 (D.C. Cir. 2019).

      C. The Government Has a Clear and Indisputable Right to Relief

      Respondents fail to muster any persuasive defense of the USCMCR’s

holding that they had performed promises in their plea agreements before the

Secretary withdrew. And respondents’ assertion that the Secretary lacked authority

to replace Convening Authority Escallier as the convening authority for pretrial

agreements—an assertion the USCMCR emphatically rejected—rests on a

misunderstanding of the Secretary’s actions.

      1. Bin ’Attash does not address the merits at all, instead asserting (Opp. 1)

that the government “cannot possibly” establish a clear and indisputable right to

relief when “four out of four judges to have considered the matter” have disagreed

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with its position. We recognize that the “clear and indisputable” standard is a high

bar—but it is objective, not subjective. Reviewing courts must determine whether

it is met based on their assessment of the law, not by counting the votes of other

judges. For example, in Hollingsworth v. Perry, 558 U.S. 183 (2010), the Supreme

Court found that standard likely satisfied even though four lower court judges (and

four Justices) disagreed. See id. at 188, 190.

      Relatedly, Bin ’Attash asserts (Opp. 3-4) that the military courts are entitled

to deference on matters of military law. The views of experienced military judges

are of course entitled to respectful consideration, but Congress has vested this

Court with the authority and responsibility to review the decisions of the

commissions and the USCMCR. And this case turns not on any specialized

question of military law, but rather on the plain meaning of the straightforward text

of Rule 705(d)(4)(B) and the relevant provisions of the agreements.

      2. Echoing the USCMCR, Mohammad and Hawsawi briefly assert (Opp.

11-13) that they began “performance of promises contained” in their agreements

within the meaning of Rule 705(d)(4)(B) when they signed stipulations and

refrained from questioning witnesses at a hearing. Neither argument has merit.

      First, respondents signed the stipulations at the same time as their plea

offers, before Convening Authority Escallier accepted the offers. The stipulations

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thus cannot have constituted the performance of any “promise[],” a term that by

definition refers to future action. Mot. 15-16. Respondents ignore that point,

which is dispositive. And respondents’ contrary view would deprive Rule

705(d)(4)(B) of practical effect: We are informed by the Department of Defense

that in the military justice system, it is overwhelmingly common for a stipulation

of fact to be signed before or contemporaneously with the convening authority’s

acceptance of a pretrial agreement. If respondents were correct that signing such a

stipulation constitutes performance, Rule 705(d)(4)(B)’s express authorization of

withdrawals “at any time” before performance would have little effect.

      Second, respondents assert (Mohammad Opp. 12) that they performed a

promise when they refrained from questioning witnesses at an August 1 hearing.

But respondents do not attempt to reconcile that assertion with the plain text of the

relevant provision of the agreements, which contained no such promise. See Mot.

17-18. Instead, they assert that the prosecution took the position at the hearing that

the agreements barred them from questioning witnesses. But even if that were

true, the prosecutor’s statements during a hearing could not overcome the

unambiguous terms of the agreements. In any event, respondents overread the

exchange on which they rely: The parties and the commission were discussing the

future course of proceedings and whether respondents’ case should be severed

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from that of a co-accused who was proceeding to trial. See Unofficial/

Unauthenticated Military Commission Transcript at 49,317-49,318 (Aug. 1, 2024).

The prosecution stated that “with the waiver of all motions from three of the four

accused, they can’t actively continue to participate in the litigation based on the

pretrial agreement.” Id. That general statement about future proceedings should

not be understood as a concession that refraining from questioning witnesses that

day would constitute performance of a promise within the meaning of Rule

705(d)(4)(B).2

      3. Respondents assert (Mohammad Opp. 14-17) that the Secretary lacked

power to reserve for himself authority relating to pretrial agreements while

otherwise maintaining his delegation to Convening Authority Escallier. The

USCMCR correctly rejected that argument, explaining that the applicable statutes,

rules, and precedent make clear that the Secretary may reserve authority over

aspects of a proceeding—including pretrial agreements. See Exhibit B to the

Petition for Mandamus and Prohibition 13-15, 18.




      2
       Respondents also briefly suggest (Mohammad Opp. 13) that they
performed by negotiating so-called “red-boxed letterhead memoranda.” But as
our motion explained (at 14-15), those negotiations were part of the pretrial
agreement; they were not promises contained in the agreement.
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      Respondents’ contrary argument rests on a misunderstanding of the

Secretary’s actions. They cite (Mohammad Opp. 14-16) a provision of the

Regulation for Trial by Military Commission specifying that the convening

authority has the “sole discretion” to decide whether to approve a pretrial

agreement, R.T.M.C. ¶ 12-1, and decisions of this Court recognizing that a

convening authority’s decision to enter into a pretrial agreement is not directly

reviewable. But the Secretary did not purport to control Convening Authority

Escallier’s exercise of her authority, or to directly review her decision. Instead, he

withdrew her previously delegated authority over pretrial agreements and then—in

a subsequent and independent exercise of his own authority—withdrew from the

agreements she had entered. That step was expressly authorized by Rule

705(d)(4)(B), which presupposes that it is permissible for a convening authority to

“withdraw” from a pretrial agreement that had already been entered.

      D. Issuance of the Writ Is Appropriate Under the Circumstances

      Respondents provide no sound reason to doubt that issuance of the writ is

appropriate under the extraordinary circumstances of this case. They do not and

could not dispute the importance of this prosecution. And neither their criticisms

of the government’s litigation decisions nor their disagreement with the




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Secretary’s considered judgment about the appropriate path forward for these

prosecutions provides a valid reason to deny relief.

      First, respondents note that the commission has scheduled hearings for

tomorrow and seek to portray the government’s petition and motion as a request

for “eleventh-hour intervention.” Mohammad Opp. 30. But the government has

diligently pursued its rights: It sought relief from the USCMCR promptly after

the commission issued its decision; sought relief from this Court eight days after

the USCMCR acted (a period that included New Years Day and government

closures); and has sought continuances from the commission in an effort to

provide more time for review. Given the actions of the lower courts, respondents

do not explain how the government could have avoided the need to seek

emergency relief.3

      Second, Bin ’Attash asserts (Opp. 4-5) that mandamus relief is not

warranted because the Secretary could have reserved the authority to enter pretrial

agreements at the outset or withdrawn it before the agreements at issue here were



      3
         Bin ’Attash errs in asserting (Opp. 1 n.2) that the government should have
sought relief from this Court “before the [USCMCR] issued its ruling.”
Mandamus relief is available only when a party has “no other adequate means to
attain the relief he desires.” United States v. Fokker Services B.V., 818 F.3d 733,
747 (D.C. Cir. 2016) (citation omitted). The government thus could not have
sought relief while its request was still pending before the USCMCR.
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entered. But by its terms, R.M.C. 705(d)(4)(B) allows a convening authority—

including the Secretary—to “withdraw” from a pretrial agreement that has already

been entered. And if ever there was an occasion where a superior convening

authority could choose to exercise that authority, it was here: The Secretary, as

the officer charged by Congress with ultimate responsibility for the military

commissions system, concluded that these pretrial agreements were not the

appropriate disposition of the most significant cases in that system—the charges

against the alleged plotters of the September 11 attacks.

       Respondents disagree with that decision, and with other aspects of the

government’s handling of these cases. They also argue vigorously that the pretrial

agreements would have provided the best resolution of these important and long-

running prosecutions. But those are arguments about the wisdom of the

Secretary’s policy choices—not reasons for this Court to withhold mandamus

relief in the face of a clear legal error in a case of this significance.

II.    The Balance of Harms and the Public Interest Strongly Favor a Stay

       If this Court concludes that the government is likely entitled to a writ of

mandamus, it should enter a stay to preserve its ability to grant that relief. Absent

a stay, the commission is poised to accept respondents’ pleas—a development that

would likely make it impossible to unwind the pleas later, and thereby prevent the

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Court from granting meaningful relief even if it would ultimately conclude that the

government is entitled to a writ of mandamus. In contrast, respondents would

suffer minimal prejudice from a relatively brief stay to allow this Court to resolve

the government’s mandamus petition. See Mot. 20-21. In contending otherwise

(e.g., Mohammad Opp. 26-32), respondents recycle their arguments against

mandamus and presume that the government is not entitled to the relief it seeks.

But respondents identify no sound reason to deny a stay if, as shown above, the

government is likely to prevail on its underlying petition.

                                  CONCLUSION

      This Court should stay the military commission proceedings to enforce the

withdrawn plea agreements and accept respondents’ pleas pending resolution of

the government’s petition for a writ of mandamus and prohibition.

                                              Respectfully submitted,

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     CERTIFICATE OF COMPLIANCE WITH VOLUME LIMITATION,
    TYPEFACE REQUIREMENTS, AND TYPE STYLE REQUIREMENTS

1. This brief complies with the volume limitation of Fed. R. App. P. 27(d)(2)
   because it contains 2,550 words.

2. This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)
   and the type-style requirements of Fed. R. App. P. 32(a)(6) because
   this response has been prepared in a proportionally spaced typeface using
   Microsoft Word in 14-point font size and Times New Roman type style.

DATED: January 9, 2025


                                             /s/ Brian H. Fletcher
                                             Brian H. Fletcher




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                          CERTIFICATE OF SERVICE

      I certify that, on January 9, 2025, I electronically filed this Reply with the
Clerk of the Court by using the appellate CM/ECF system. The participants in the
case are registered CM/ECF users, and service will be accomplished by the
appellate CM/ECF system.

                                              /s/ Brian H Fletcher
                                              Brian H. Fletcher




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